Case 2:02-cr-20480-.]P|\/| Document 99 Filed 04/28/05 Pagelon Page|D 8

IN THE UNITED STATES DISTRICT COURT l 7 r_ h w w h gi
FoR THE WESTERN DIsTRlCT oF TENNESSEE_ 533 y ,b § , i_

WESTERN DIVISION f ` n m JJ

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UNITED STATES OF AMERICA

VS.

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ADAM HOGELAND 02cr20480-2-Ml

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On April 27, 2005, Adam Hogeland appeared before me on a charge of violation of the
terms and conditions of his supervised release in this matter. The defendant had previously been
advised of his rights under Fed.R.Crim.P. 5 and 32. l(a) and counsel was appointed

At this hearing, counsel indicated that defendant Adam Hogelana’ Wished to waive his right
to a preliminary hearing or probable cause hearing and have this matter remanded to the United
States District Court.

Accordingly, defendant is held to a final revocation hearing before United States District
Judge Jon th})ps McCalla. It is presumed that the District Judge Will set this matter for a
revocation hearing pursuant to Fed.R.Crim.P. 32. l (b), (c), and will see that appropriate notices are
given.

The defendant is hereby remanded to the custody of the United States Marshals.

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TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

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with Rule 55 and!or 32(b} FHCrP on

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This notice confirms a copy of the document docketed as number 99 in
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Honorable .l on l\/lcCalla
US DISTRICT COURT

